            Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 1 of 32



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WISCONSIN


DF INSTITUTE, LLC                                    )       CASE NO. 19-cv-452
d/b/a KAPLAN PROFESSIONAL,                           )
                                                     )
               Plaintiff,                            )       JUDGE
                                                     )
       v.                                            )
                                                     )
DALTON EDUCATION, LLC, ALLISON                       )       COMPLAINT
STEERS, AND CYNDEE REDFEARN,                         )
                                                     )
               Defendants.                           )       (Jury Demand Endorsed Hereon)

                                         COMPLAINT

       Plaintiff DF Institute, LLC, doing business as Kaplan Professional (“Kaplan

Professional”), brings this Complaint against Defendants Dalton Education, LLC (“Dalton”),

Allison Steers (“Steers”), and Cyndee Redfearn (“Redfearn”) (Steers and Redfearn, collectively,

the “Individual Defendants”) (the Individual Defendants with Dalton, collectively, “Defendants”).

Kaplan Professional’s claims are based on Defendants’ misappropriation of its valuable trade

secrets in support of an unlawful scheme to divert Kaplan Professional’s clients to Defendants’

competing company. In support of its Complaint, Kaplan Professional states as follows:

                                             PARTIES

       1.      Kaplan Professional is an Illinois limited liability corporation with its principal

place of business in La Crosse, Wisconsin.

       2.      Dalton is a Georgia limited liability company with its principal place of business in

Suwanee, Georgia.

       3.      Allison Steers (nee Allison Rodriguez) is an individual residing in Onalaska,

Wisconsin.
             Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 2 of 32



        4.      Cyndee Redfearn (nee Cyndee Kissel) is an individual residing in Maricopa,

Arizona.

                                 JURISDICTION AND VENUE

        5.      Subject matter jurisdiction is proper under 28 U.S.C. §§ 1331 and 1367 because

this Court has original jurisdiction over Kaplan Professional’s causes of action under the Defend

Trade Secrets Act, 18 U.S.C. § 1836(b), and the Computer Fraud and Abuse Act, 18 U.S.C. § 1030,

and supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) over Kaplan Professional’s other

causes of action arising under state law.

        6.      Personal jurisdiction is proper under Wisconsin law because Kaplan Professional’s

causes of action resulted from Defendants’ substantial and not isolated activities within Wisconsin,

Defendants’ specific wrongful acts within Wisconsin, and other grounds forming the basis for

long-arm jurisdiction under Wisconsin law.

        7.      Venue is proper in the Western District of Wisconsin under 28 U.S.C. § 1391

because a substantial part of the events or omissions giving rise to the claims occurred in this

District.

                                              FACTS

        8.      Kaplan Professional operates its principal place of business in La Crosse,

Wisconsin and is a professional, education-based company.

        9.      Kaplan Professional is a leading provider of products and services in the Certified

Financial Planning (“CFP”) industry.

        10.     Kaplan Professional’s products include books and materials for study preparation

for CFP certification. Kaplan Professional’s services include traditional and virtual classroom

instruction as well as self-study programs.




                                                 2
            Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 3 of 32



       11.     In addition to offering its products and services to individuals, Kaplan Professional

also offers them to corporate clients and their employees.

       12.     Because the CFP industry is highly competitive, Kaplan Professional’s trade secrets

include its proprietary client-specific research and relationship data, its strengths and weaknesses

in its offerings and product lines, its sales revenue data, its training and development methods for

sales employees, and its overall business strategy in maintaining its place as a leader in the CFP

industry.

             Kaplan Professional’s Trade Secrets and Its Efforts to Protect Them

       13.     Kaplan Professional’s relationships, knowledge, pricing structure, know-how, and

other confidential information are critical to its ability to perform its business and maintain its

competitive position in the CFP industry.

       14.     To protect its trade secrets, Kaplan Professional requires employees to sign a

Confidentiality and Restriction Agreement, which contains confidentiality and other restrictive

covenants as they relate to employment.

       15.     In addition, employees receive, review, and acknowledge the receipt of Kaplan

Professional’s Employee Handbook as part of the onboarding process. The Employee Handbook

includes a confidentiality policy.

       16.     Throughout the tenure of their employment, employees receive updated versions of

the Handbook, of which they acknowledge receipt and by which they agree to abide.

       17.     Additionally, Kaplan Professional requires employees to agree to comply with its

Information Technology Acceptable Use Policy. This policy outlines the requirements and

expectations for using Kaplan Professional’s information and information technology resources




                                                 3
           Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 4 of 32



when conducting business. Kaplan Professional implemented this policy to prevent misuse of its

technology systems.

       18.     Additionally, Kaplan Professional’s Information Technology Acceptable Use

Policy requires users (or employees) to return all company-issued technology resources, including

company-issued laptops, upon termination of employment.

       19.     Given the importance of its intellectual property and/or trade secret information,

Kaplan Professional maintains a standard process when employees exit the company.

       20.     As part of that standard process, Kaplan Professional conducts an exit interview,

during which it reminds the employee that she must return company-issued equipment and abide

by the previously agreed-to confidentiality provisions.

       21.     For virtual employees, Kaplan Professional notifies them that they will receive

shipping boxes and labels from Kaplan Professional in order to return their company-issued

equipment.

                  Kaplan Professional’s Previous Interactions with Dalton

       22.     On information and belief, Dalton was formed on May 5, 2009, and its principal

office is located at 5400 Laurel Springs Parkway, Suite 202, in Suwanee, Georgia.

       23.     On information and belief, Dalton’s President and Founder is Joseph Gillice

(“Gillice”).

       24.     Dalton is a direct competitor of Kaplan Professional in the CFP industry.

       25.     Like Kaplan Professional, Dalton offers services and products for CFP certification.

       26.     Like Kaplan Professional, Dalton offers exam preparation courses for CFP

certification and sells CFP-related books and materials.




                                                4
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 5 of 32



       27.     Like Kaplan Professional, Dalton also offers CFP-related education courses, which

include both live, virtual classroom courses and self-study programs.

       28.     As a direct competitor of Kaplan Professional in the CFP industry, Kaplan

Professional and Dalton compete for the same or similar clients and customers.

       29.     Several of Kaplan Professional’s former employees have worked, or are currently

working, for Dalton.

       30.     Because Dalton has hired away Kaplan Professional’s employees in the past,

Kaplan Professional has previously advised Dalton of Kaplan Professional’s Confidentiality and

Restriction Agreement, and, thus, Dalton is aware that Kaplan Professional’s employees are bound

by that agreement.

                Dalton’s Efforts to Recruit Kaplan Professional’s Employees

       31.     Kaplan Professional employed Laramie McClurg (“McClurg”) from 2010 to 2014.

       32.     As part of his employment at Kaplan Professional, McClurg signed his

Confidentiality and Restriction Agreement on April 27, 2010.

       33.     McClurg resigned from Kaplan Professional in 2014 and accepted employment

with Dalton.

       34.     On information and belief, McClurg is currently the Director of Corporate

Partnerships at Dalton.

       35.     On information and belief, McClurg still resides in La Crosse, Wisconsin.

       36.     On information and belief, McClurg recruits employees from Kaplan Professional

in the La Crosse area and beyond with the intent of using Kaplan Professional’s confidential

information to help grow business for Dalton. The Kaplan Professional employees recruited by

McClurg include the Individual Defendants.




                                                5
           Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 6 of 32



                  Defendant Steers’ Employment with Kaplan Professional

       37.     On or about March 8, 2010, Steers accepted an offer with Kaplan Professional for

the position of Inside Sales Representative.

       38.     As part of the onboarding process, Steers received Kaplan Professional’s Employee

Handbook, which contained a confidentiality policy. On March 22, 2010, Steers agreed to

“comply with the policies, guidelines and practices” in the Employee Handbook.             Steers

acknowledged the Employee Handbook again in April 2016 and May 2018.

       39.     Also as part of the onboarding process, Steers received Kaplan Professional’s

Information Technology Acceptable Use Policy. On March 22, 2010, Steers acknowledged that

she had reviewed the policy and agreed to abide by it.

       40.     Roughly a month later, on April 27, 2010, Steers executed her Confidentiality and

Restriction Agreement.

       41.     From 2010 forward, Steers held a variety of positions at Kaplan Professional,

including Sales Overlay, Education Product Specialist, Content Specialist, Content Manager, and

Inside Sales Manager.

       42.     By July 2018, Steers had risen to the position of Inside Sales Manager.

       43.     On July 25, 2018, Steers learned that one of her direct reports had reached out to

Laramie McClurg at Dalton about potential employment opportunities at Dalton.

       44.     Kaplan Professional reminded Steers that it: (1) maintains a confidentiality clause

in its employment processes; (2) sends statements of continuing obligations under the

confidentiality clauses to former employees who go to work for a competitor; and (3) has sent

letters to Dalton making it aware of the former employee’s responsibilities not to use Kaplan

Professional’s intellectual property and/or trade secrets.




                                                  6
           Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 7 of 32



       45.     In light of these warnings from Kaplan Professional, Steers indicated to Kaplan

Professional that she wanted a letter drafted to send to her direct report reminding her of her

obligations related to the confidentiality provision.

       46.     Less than a year later, on the afternoon of Wednesday, March 20, 2019, Steers

informed Kaplan Professional that she was resigning and joining Dalton. Steers gave notice that

her last day of work at Kaplan Professional was Friday, March 29, 2019.

       47.     The following day, Redfearn abruptly resigned, as explained below, and Kaplan

Professional learned that she, too, was going to Dalton.

       48.     As a result, Kaplan Professional became concerned that the two employees may

have been soliciting each other to resign to work for Dalton and may have taken Kaplan

Professional’s trade secrets and/or confidential, proprietary information.

       49.     Kaplan Professional’s Information Technology team conducted an initial review of

the Individual Defendants’ computer activity on Kaplan Professional’s system and discovered that

Steers and Redfearn had engaged in suspicious activity leading up to their resignations, including

emailing Kaplan Professional’s confidential proprietary documents to personal email addresses

and/or moving these documents to a third-party Dropbox.

       50.     Upon learning this information, Kaplan Professional engaged an outside company

to conduct a full forensic review of the Individual Defendants’ company-issued laptops.

       51.     Because Steers was located in Kaplan Professional’s La Crosse office, her

company-issued laptop was obtained on her last day of work and then sent out for analysis.

       52.     Forensic analysis shows that on the day of and the day after her resignation, Steers

had an abnormal spike in download activity of Kaplan Professional’s documents. Specifically,




                                                  7
           Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 8 of 32



Steers used her company-issued computer to download Kaplan Professional’s documents and

confidential information into a third-party storage service Dropbox.

        53.     On Wednesday, March 20, 2019, Steers downloaded several of Kaplan

Professional’s documents that contain confidential and trade secret information into a Dropbox

that she did not regularly use.

        54.     Steers downloaded the following confidential and proprietary documents: CSS

CSM Training Guide; a copy of the 30.60.90 day plan; the December 2018 Sales Kaplan Financial

Education (“KFE”) Sales Variance Report; Kaplan’s Sales Cycle; and the February 2019 KFE

Sales Variance Report.

        55.     Of these documents, Steers transferred the following documents to her third-party

Dropbox: CSS CSM Training Guide; a copy of the 30.60.90 day plan; the December 2018 Sales

KFE Variance Report; and Kaplan’s Sales Cycle. Steers also created a PowerPoint called “Align

Execute and Access Template - 2019” that she added to the third-party Dropbox on March 20,

2019.

        56.     These documents contain Kaplan Professional’s business strategies and a detailed

outline of revenue and product lines for Kaplan Professional customers in 2018. In addition, they

discuss internal training techniques designed to help employees obtain sales and improve their

delivery of services to clients.

        57.     At the time of separation, Steers also took a document that outlines revenue and

product lines of Kaplan Professional customers, year to date, in 2019 based on February 2019

information.

        58.     While Steers may have utilized these documents and information during the course

of her employment with Kaplan Professional, she was neither authorized nor permitted to




                                                8
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 9 of 32



misappropriate or take this confidential business information when she resigned, and she expressly

was prohibited from doing so in light of her Confidentiality and Restriction Agreement.

        59.    Kaplan Professional conducted an exit interview with Steers on or about March 22,

2019.

        60.    During the week of March 25th, Steers made plans to travel to Atlanta to begin her

training and employment with Dalton.

        61.    Steers’ last day of employment with Kaplan Professional was Friday, March 29,

2019.

        62.    On information and belief, Steers traveled to Atlanta on Sunday, March 31, 2019

to begin her employment with Dalton.

        63.    On April 3, 2019, Kaplan Professional sent a letter to Steers regarding violations of

her Confidentiality and Restriction Agreement to her personal email address. The same letter was

sent via overnight mail to her last known address as well.

        64.    Kaplan Professional’s letter reminded Steers of her obligations under the

Confidentiality and Restriction Agreement, as well as the Confidentiality Provisions in the

employee handbook.      Further, Kaplan Professional notified Steers of its knowledge of her

downloads of certain documents containing trade secret information.

                Defendant Redfearn’s Employment with Kaplan Professional

        65.    In the spring of 2010, Steers referred Redfearn for a position with Kaplan

Professional. Redfearn submitted an application on or about May 17, 2010.

        66.    At the time, Redfearn was living in Holmen, Wisconsin.

        67.    On or about May 19, 2010, Kaplan Professional offered Redfearn the position of

Branch Sales Representative in La Crosse, Wisconsin.




                                                 9
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 10 of 32



        68.    Redfearn began working at Kaplan Professional on June 1, 2010.

        69.    As part of the onboarding process, Redfearn signed her Confidentiality and

Restriction Agreement.

        70.    Kaplan Professional also provided Redfearn a copy of its Employee Handbook. On

June 1, 2010, Redfearn agreed to “comply with the policies, guidelines and practices” in the

Employee Handbook.

        71.    Redfearn acknowledged the Employee Handbook again in April 2016 and May

2018.

        72.    Kaplan Professional provided Redfearn a copy of the Information Technology

Acceptable Use Policy. On June 11, 2010, Redfearn acknowledged that she had reviewed the

policy and agreed to abide by it.

        73.    From 2010 forward, Redfearn held a number of positions with Kaplan Professional,

including Client Relationship Representative II, Client Representative III, and Wealth Manager II.

        74.    As a Wealth Manager II, Redfearn was responsible for supporting “growth”

accounts and for educating, enrolling and supporting branch-level employees, branch managers

and directors on Wealth Behavioral Finance. The majority of Redfearn’s duties focused on

account management, sales activity, strategy and planning, traveling to conferences and trade

shows, and interacting with clients.

        75.    In July 2018, per her request, Kaplan Professional granted Redfearn permission to

work from home because she was relocating from Wisconsin to Arizona. Accordingly, Redfearn

continued as an employee and Kaplan Professional allowed her to work from her new home in

Maricopa, Arizona.




                                               10
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 11 of 32



       76.      In February 2019, Redfearn applied as an internal candidate for the position of

Wealth Management Sales Development II.

       77.      In March 2019, Redfearn learned that she was not selected for the position of

Wealth Management Sales Development II.

       78.      On March 7, 2019, Redfearn contacted Steers and asked if there was an open

position on her team in Inside Sales. On the same day, Steers responded that she did not have an

open position on her team. Redfearn then asked Steers if she heard of anything opening up to let

her know. Steers agreed to inform Redfearn of any such opening.

       79.      Kaplan Professional has discovered that on March 11, 2019, Redfearn sent to her

personal email address confidential and proprietary student information regarding students’ usage

of exam preparation tools and how Kaplan Professional employees should engage those students.

This information is not publicly known and is Kaplan Professional’s confidential, trade secret

information regarding its customers.

       80.      Kaplan Professional was scheduled to interview Redfearn for another position on

March 12, 2019; however, Redfearn declined the interview after she got information about the

compensation for the position.

       81.      On March 13, 2019, Kaplan Professional met with Redfearn to provide feedback

on her interview for the Wealth Management Sales Development II position.

       82.      Kaplan Professional has discovered that later that same day, March 13, 2019,

Redfearn sent emails outlining her sales numbers for three clients to the Kaplan Professional

representatives she met with to discuss feedback on her interview for the Wealth Management

Sales Development II position in an effort to demonstrate why she felt she should have received

the position.




                                               11
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 12 of 32



       83.     Redfearn forwarded this same email outlining the sales information for the three

clients to her personal email address.

       84.     On March 15, 2019, Redfearn forwarded to her personal email address several

documents containing Kaplan Professional’s trade secrets, including, among other things,

screenshots of internal trainings that Kaplan Professional provides to its employees and addresses.

       85.     On Monday, March 18, 2019, Redfearn forwarded to her personal email address an

email from Kaplan Professional containing a link to a videocast with the President of Kaplan

Professional discussing Kaplan Professional’s standard operating objectives. This video was

explicitly noted as being for Kaplan Professional’s employees and internal use only.

       86.     On March 21, 2019, Redfearn submitted her notice of resignation to be effective

immediately.

       87.     On the same day, Redfearn sent to her personal email address several internal

contacts for clients she was working with for CFP products on behalf of Kaplan Professional.

       88.     During her exit interview with Kaplan Professional on March 22, 2019, Redfearn

was informed that she was required to return the company-issued laptop as soon as possible.

       89.     Despite this request, Redfearn failed to return her company-issued laptop in a

timely manner. Consequently, Kaplan Professional could not complete a full forensic analysis of

Redfearn’s laptop until it was returned.

       90.     On or about April 3, 2019, Kaplan Professional sent Redfearn a letter notifying her

that it had reason to believe that she had breached the Confidentiality and Restriction Agreement

and that she had violated Kaplan Professional’s policies on confidential information. The letter

further reminded Redfearn that she was not to engage in any activity to interfere with Kaplan

Professional’s relations with actual or potential clients or customers.




                                                 12
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 13 of 32



        91.     On or about April 5, 2019, because Redfearn had not returned her company-issued

laptop, Kaplan Professional again notified Redfearn that she must return it immediately.

        92.     On or about April 6, 2019, Redfearn contacted Kaplan Professional and asserted

that any emails she had sent to her personal email address from her Kaplan Professional email had

been deleted.

        93.     Redfearn did not return her company-issued laptop until Friday, April 12, 2019.

        94.     Once received, Kaplan Professional sent Redfearn’s laptop to a third-party vendor

to conduct a full forensic analysis.

        95.     Forensic analysis has now revealed that Redfearn, McClurg, and Gillice (Dalton’s

President and Founder) were in discussions about Redfearn joining Dalton as early as March 8,

2019.

        96.     Further, between March 5, 2019 and March 28, 2019, Redfearn downloaded

numerous documents containing Kaplan Professional’s confidential, trade secret information to

the hard drive of the company-issued laptop she used, specifically to the user download folder.

        97.     Kaplan Professional has now discovered that while Redfearn was applying to

Dalton for employment and, later, actually employed by Dalton, she downloaded Kaplan

Professional’s trade secret information including: client pricing information for its current contract

and products; the client’s reimbursement contract with its employees; several spreadsheets

containing customer contact information and course information; and a client business plan.

        98.     While Redfearn may have utilized these documents and information during the

course of her employment with Kaplan Professional, she was neither authorized nor permitted to

misappropriate or take this confidential business information when she resigned.




                                                 13
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 14 of 32



       99.     Redfearn specifically intended and still intends to use Kaplan Professional’s trade

secrets to take business away from Kaplan Professional for Dalton, in direct violation of her

Confidentiality and Restriction Agreement.

       100.    Between March 21, 2019 and March 29, 2019, after her resignation from Kaplan

Professional, Redfearn accessed her Kaplan Professional email address and drive to access and/or

email to her personal email address client information including rosters for Kaplan Professional’s

CFP courses and internal contact information for at least four of Kaplan Professional’s clients.

       101.    Additionally, forensic analysis shows that Redfearn emailed numerous emails

containing trade secret information to her personal email address beginning in March 2019 in

preparation for her separation from Kaplan Professional.

       102.    After her resignation, and while using the company-issued laptop that she failed to

return upon her resignation, Redfearn acted at the direction of McClurg and on behalf of Dalton in

sending and/or disclosing trade secret information belonging to Kaplan Professional.

       103.    On March 24, 2019, McClurg, from his Dalton email address, specifically asked

Redfearn what accounts she worked on closely at Kaplan Professional that she felt like she could

have a direct impact on bringing in CFP sales for Dalton. In her response on that same day,

Redfearn disclosed which client accounts she worked on at Kaplan Professional.

       104.    As a former employee of Kaplan Professional himself, McClurg knew that this

information was protected, confidential information belonging to Kaplan Professional that was not

publicly known, and that it had economic value to Kaplan Professional and any other competitor

in the CFP industry if disclosed.




                                                14
             Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 15 of 32



       105.      McClurg, on behalf of Dalton, learned from Redfearn that she worked with one of

Kaplan Professional’s clients with which Dalton does not do business. Dalton solicited Redfearn’s

assistance to steal Kaplan Professional’s business from that client.

       106.      Redfearn then planned, and still intends, to drive that business from Kaplan

Professional to Dalton. Redfearn also shared Kaplan Professional’s business strategy with Dalton

for the Kaplan Professional client and noted that, based on her relationship with the client’s

decision-makers, Redfearn would help Dalton to develop a proposal for the client to consider,

which would counter Kaplan Professional’s proposal.

       107.      Following this exchange, and in preparation for traveling to Atlanta to meet with

the Dalton team, Redfearn emailed herself previously downloaded sales reports and contacts for

the identified Kaplan Professional client account that she discussed with Dalton. All of these

actions were done while using the company-issue laptop that Redfearn refused to return to Kaplan

Professional upon resigning.

       108.      Both Redfearn and Steers resigned from Kaplan Professional after taking Kaplan

Professional’s confidential, proprietary, and trade secret information to Dalton and at Dalton’s

direction.

       109.      On information and belief, the Individual Defendants engaged in efforts to solicit

each other to leave their employ with Kaplan Professional to work for Dalton.

       110.      On May 10, 2019, another Kaplan Professional employee, Kyle Webster

(“Webster”), submitted his notice of resignation. On May 13, 2019, Webster notified a fellow

employee that he was going to work for Dalton.




                                                 15
             Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 16 of 32



           111.   When asked by a Human Resources representative where he was going to work,

Webster sidestepped the question and did not provide an answer. On information and belief,

Webster was solicited to work for Dalton by Redfearn and/or Steers.

                                              CLAIMS

           112.   Both Individual Defendants signed Confidentiality and Restriction Agreements

with Kaplan upon their hiring in 2010.

           113.   The Individual Defendants violated the Defend Trade Secrets Act, the Computer

Fraud and Abuse Act, and the Illinois and Wisconsin Trade Secrets Acts. The Individual

Defendants also breached the Confidentiality and Restriction Agreement and their fiduciary duties,

tortiously interfered with Kaplan Professional’s prospective economic advantage, converted

Kaplan Professional’s documents, unfairly competed and unjustly enriched themselves, and

misappropriated Kaplan Professional’s trade secrets. The Individual Defendants committed these

acts to the benefit of Dalton before resigning from their Kaplan Professional employment and,

therefore, while they each owed Kaplan Professional fiduciary duties.

           114.   Kaplan Professional asserts the following claims against Dalton, Steers, and

Redfearn, collectively and severally, as prescribed below: (a) violation of the Defend Trade Secrets

Act; (b) violation of the Computer Fraud and Abuse Act; (c) violation of the Wisconsin Trade

Secrets Act; (d) breach of duty of loyalty/fiduciary duty; (e) breach of contract; (f) violation of the

Wisconsin Computer Crimes statute; (g) conversion/theft; (h) and tortious interference with

prospective economic advantage.

           115.   Prior to filing this action, Kaplan Professional attempted to secure the Individual

Defendants’ compliance with their continuing obligations, including sending them cease and desist

letters.




                                                  16
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 17 of 32



        116.    Additionally, Kaplan Professional notified Dalton of the Individual Defendants’

misconduct and attempted to secure its acknowledgment that it did not obtain nor use any

misappropriated trade secret information belonging to Kaplan Professional. Kaplan Professional

sent two correspondences to Dalton, which went ignored and unanswered.

        117.    Kaplan Professional seeks preliminary and permanent injunctive relief to stop

Defendants from engaging in additional wrongful conduct. Kaplan Professional also seeks an

accounting and damages for the losses it has sustained as a result of Defendants’ wrongful conduct

to date, imposition of a constructive trust and the disgorgement of salaries and benefits business

obtained as a result of the utilization of misappropriated trade secrets received by Defendants,

attorneys’ fees, punitive damages, and costs as warranted by Defendants’ egregious conduct.

                                 COUNT I
        VIOLATION OF THE DEFEND TRADE SECRETS ACT, 18 U.S.C. § 1836
                          (Against All Defendants)

        118.    Kaplan Professional incorporates its allegations in Paragraph 1 through Paragraph

117 as if fully set forth herein.

        119.    Kaplan Professional’s trade secrets are proprietary and confidential to Kaplan

Professional, and they constitute protectable trade secrets under the Defend Trade Secrets Act. See

18 U.S.C. § 1839(3) (defining the term “trade secret”).

        120.    Kaplan Professional has taken reasonable measures to protect and maintain the

secrecy and confidentiality of its trade secrets.

        121.    Kaplan Professional’s trade secrets are not generally known in the industry or to

the general public, and their secrecy confers substantial economic advantage and benefit to Kaplan

Professional. Knowledge of the information would also confer a substantial economic benefit to

Kaplan Professional’s competitors, including Dalton.




                                                    17
            Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 18 of 32



          122.   The circumstances of the Individual Defendants’ respective employment with

Kaplan Professional gave rise to fiduciary duties and obligations to maintain the secrecy of

Defendant’s trade secrets and to strictly limit the use of such trade secrets to Kaplan Professional’s

business activities and for Kaplan Professional’s exclusive benefit.

          123.   Defendants, through improper means and without authorization, either directly or

indirectly misappropriated, misused and/or disclosed Kaplan Professional’s trade secrets to and

for their own benefit.

          124.   In addition, Dalton has been systematically targeting and soliciting Kaplan

Professional’s employees to work for Dalton, knowing that they possess specific knowledge of

Kaplan Professional’s trade secrets and that such trade secrets would provide immediate benefit to

Dalton.

          125.   As a direct and proximate result of Defendants’ deliberate, willful and malicious

misappropriation of Kaplan Professional’s trade secrets, Kaplan Professional has sustained and

will continue to sustain severe, immediate, and irreparable harm, damage and injury to the value

of its trade secrets and competitive advantage, which Kaplan Professional has expended significant

time, effort and money to secure.

          126.   WHEREFORE, Kaplan Professional respectfully requests that the Court enter an

order granting judgment in favor of Kaplan Professional and against Defendants on Count I

including the following relief:

                 (a)     The issuance of preliminary and permanent injunctive relief enjoining
                         Defendants, and every person or entity acting in concert with them,
                         including, but not limited to, Dalton, from directly or indirectly
                         misappropriating, disclosing and/or using Kaplan Professional’s trade
                         secrets;

                 (b)     The issuance of an injunction compelling Defendants, and every person or
                         entity acting in concert with them, including, but not limited to Dalton, to



                                                  18
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 19 of 32



                       return all documents and other materials containing or constituting Kaplan
                       Professional’s trade secrets;

               (c)     The award of compensatory damages in an amount to be determined at trial;

               (d)     The award of exemplary and other damages pursuant to 18 U.S.C.
                       § 1836(b)(3)(C);

               (e)     Reasonable attorneys’ fees pursuant to 18 U.S.C. § 1836(b)(3)(D); and

               (f)     Such other relief as the Court deems just and proper.

                                  COUNT II
    VIOLATION OF THE COMPUTER FRAUD AND ABUSE ACT, 18 U.S.C. § 1030
                     (Against the Individual Defendants)

       127.    Kaplan Professional incorporates its allegations in Paragraph 1 through

Paragraph 126 as if fully set forth herein.

       128.     The Individual Defendants’ company-issued computing devices were each used in

interstate commerce, and they each constitute a “protected computer” under the Computer Fraud

and Abuse Act (“CFAA”), 18 U.S.C. § 1030(e)(2)(b).

       129.    Without authorization or by exceeding authorized access, the Individual

Defendants intentionally accessed their respective company-issued computing devices with the

intent to defraud Kaplan Professional in violation of Sections 1030(a)(2)(c), (a)(4), and (a)(5) of

the CFAA, including by: (i) obtaining certain information from the company-issued computing

devices and/or Kaplan Professional’s network; (ii) obtaining copies of certain documents and files

of value from the company issued computing devices and/or Kaplan-Professional’s network; and

(iii) deleting electronic files from the company-issued computing devices and/or Kaplan

Professional’s network.

       130.    By engaging in the foregoing misconduct for the purpose of misappropriating

Kaplan Professional’s confidential information and trade secrets, the Individual Defendants




                                                19
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 20 of 32



breached their fiduciary duties and other obligations owed to Kaplan Professional. The Individual

Defendants had no authority or authorization for the foregoing misconduct.

       131.    The Individual Defendants intentionally and recklessly caused damage and loss to

Kaplan Professional in excess of $5,000 because their conduct impaired the integrity of Kaplan

Professional’s protected computers and required Kaplan Professional to expend resources in

excess of $5,000 to investigate the foregoing misconduct, conduct forensic examination of the

devices to ascertain the scope of the Individual Defendants’ misconduct and perform certain

remedial measures required as a result of such misconduct.

       132.    WHEREFORE, Kaplan Professional respectfully requests that the Court enter an

order granting judgment in favor of Kaplan Professional and against the Individual Defendants on

Count II and ordering the following relief:

               (a)     The issuance of preliminary and permanent injunctive relief enjoining the
                       Individual Defendants, and every person or entity acting in concert with
                       them, from directly or indirectly misappropriating, disclosing and/or using
                       Kaplan Professional’s trade secrets;

               (b)     The issuance of an injunction compelling the Individual Defendants, and
                       every person or entity acting in concert with them, including, but not limited
                       to Dalton, to return all documents and other materials containing or
                       constituting Kaplan Professional’s trade secrets;

               (c)     The award of compensatory damages in an amount to be determined at trial
                       pursuant to 18 U.S.C. § 1030(g); and

               (d)     Such other relief as the Court deems just and proper.

                              COUNT III
  VIOLATION OF THE WISCONSIN TRADE SECRETS ACT, § 134.90 WIS. STATS.
                        (Against All Defendants)

       133.    Kaplan Professional incorporates its allegations in Paragraph 1 through

Paragraph 132 as if fully set forth herein.




                                                 20
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 21 of 32



       134.     Kaplan Professional’s confidential, proprietary and trade secret information related

to its sales, customers and prospective customers, pricing structures, compensation plans, strategic

plans for new and expanded business, sales and analysis comparisons, its competitive advantage

in the industry and other documents described in the preceding paragraphs are sufficiently secret

to derive economic value for Kaplan Professional. This information is not generally known to

others who can obtain economic value from its disclosure or use, including Kaplan Professional’s

competitors like Dalton.

       135.     During their employment with Kaplan Professional, the Individual Defendants had

access to Kaplan Professional’s trade secrets and other nonpublic confidential information that

was of significant value to Kaplan Professional.

       136.     Kaplan Professional has taken extensive efforts to maintain the secrecy and

confidentiality of its trade secrets both within its internal operations and its business dealings, so

that its competitors cannot obtain economic value from this information. The value of the

information described in the preceding paragraphs to Kaplan Professional’s competitors, like

Dalton, is substantial. This information cannot be easily acquired by individuals outside of Kaplan

Professional.

       137.     Individual Defendants had an absolute obligation and duty to maintain the secrecy

of Kaplan Professional’s trade secret information as described in the foregoing paragraphs and to

use that information solely for the purpose of supporting Kaplan Professional’s business.

       138.     At the time Defendants acquired Kaplan Professional’s trade secrets, they knew or

should have known that the trade secret information had been acquired through improper means

and under circumstances giving rise to a duty to maintain secrecy of the information and that the

information was not used to Kaplan Professional’s detriment.




                                                 21
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 22 of 32



        139.    Notwithstanding the foregoing, Individual Defendants have willfully and

maliciously breached their duties to Kaplan Professional and have willfully and maliciously

misappropriated and will continue to misappropriate Kaplan Professional’s trade secret and

confidential information that they acquired during their employment with Kaplan Professional.

        140.    At all times relevant to this action, the Wisconsin Uniform Trade Secrets Act, Wis.

Stat. § 134.90 et seq., was in effect.

        141.    Defendants’ misappropriation and use of Kaplan Professional’s trade secrets for

their own purposes and to benefit Dalton are intended to prejudice and hurt Kaplan Professional

and its business, which is in violation of § 134.90, Wis. Stats.

        142.    The trade secrets, confidential and proprietary information that the Individual

Defendants misappropriated and will continue to misappropriate include information related to

Kaplan Professional’s sales, customers and prospective customers, pricing structures, financial

performance, compensation plans, strategic plans for new and expanded business, sales and

analysis comparisons, and competitive advantage in the industry. The full extent of the

misappropriation will be ascertained during discovery and ongoing forensic review.

        143.    The trade secrets identified herein derive independent economic value from not

being generally known to, and not readily ascertainable by proper means by, other persons who

can obtain economic value from their disclosure or use, and Kaplan Professional engaged in

reasonable efforts to maintain their secrecy.

        144.    Defendants have and will continue to use Kaplan Professional’s trade secrets and

confidential information to compete directly with Kaplan Professional on behalf of Dalton.




                                                 22
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 23 of 32



       145.    Because Defendants are competing directly with Kaplan Professional’s business,

Kaplan Professional has and will continue to be damaged by Defendants’ misappropriation of its

trade secrets and confidential information.

       146.    Defendants’ conduct, as alleged, violates § 134.90, Wis. Stats., and is outrageous,

egregious, malicious, intentional, willful and in reckless disregard of the rights of Kaplan

Professional and entitles Kaplan Professional to punitive damages.

       147.    Defendants’ misappropriation and continued misappropriation of Kaplan

Professional’s trade secrets and confidential information has and will result in damage to Kaplan

Professional’s business and business interests, and has and will continue to result in Defendants’

unjust enrichment, and unless restrained, Defendants will continue to be unjustly enriched to

Kaplan Professional’s prejudice and damage.

       148.    WHEREFORE, Kaplan Professional respectfully requests that the Court enter an

order granting judgment in favor of Kaplan Professional and against Defendants and ordering the

following relief:

               (a)    The issuance of preliminary and permanent injunctive relief enjoining
                      Defendants, and every person and entity acting in concert with them,
                      including, but not limited to, Dalton, from directly or indirectly
                      misappropriating and/or using Kaplan Professional’s trade secrets;

               (b)    The issuance of an injunction compelling Defendants, and every person and
                      entity acting in concert with them, including, but not limited to, Dalton, to
                      return all documents and other materials containing or constituting Kaplan
                      Professional’s trade secrets;

               (c)    The award of compensatory damages in an amount to be determined at trial;

               (d)    Exemplary and other damages pursuant to § 134.90(4), Wis. Stats;

               (e)    Reasonable attorneys’ fees pursuant to § 134.90(4), Wis. Stats; and

               (f)    Such other relief as the Court deems just and proper.




                                               23
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 24 of 32



                                        COUNT IV
                   BREACH OF THE DUTY OF LOYALTY/FIDUCIARY DUTY
                            (Against the Individual Defendants)

       149.     Kaplan Professional incorporates its allegations in Paragraph 1 through

Paragraph 148 as if fully set forth herein.

       150.     The Individual Defendants owed Kaplan Professional a duty of loyalty as

employees of Kaplan Professional.

       151.     The Individual Defendants possessed control over and knowledge of various key

aspects of Kaplan Professional’s business.

       152.     The Individual Defendants breached their duty of loyalty to Kaplan Professional by

acting directly in opposition to Kaplan Professional’s interests when they took Kaplan

Professional’s proprietary, confidential, and trade-secret information while employed by Kaplan

Professional.

       153.     Further, the Individual Defendants breached their duty of loyalty when they used

Kaplan Professional’s proprietary, confidential, and trade secrets information on behalf of Dalton.

       154.     The Individual Defendants were aware that they were forbidden from disclosing

Kaplan Professional’s proprietary, confidential, and trade secret information.

       155.     The Individual Defendants used the knowledge imparted to them though their

positions at Kaplan Professional to steal business, or attempt to steal business, from Kaplan

Professional to the benefit of Dalton.

       156.     In doing so, the Individual Defendants took actions directly contrary to Kaplan

Professional’s interests, both individually and in conjunction.      Accordingly, the Individual

Defendants breached their duty of loyalty to Kaplan Professional.




                                                24
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 25 of 32



       157.    Kaplan Professional has suffered and will continue to suffer irreparable harm and

other damages as a result of the actions of the Individual Defendants.

       158.    WHEREFORE, Kaplan Professional respectfully requests that the Court enter an

order granting judgment in favor of Kaplan Professional and against the Individual Defendants

and ordering the following relief:

               (a)     The issuance of preliminary and permanent injunctive relief enjoining the
                       Individual Defendants, and every person and entity acting in concert with
                       them, including, but not limited to, Dalton, from directly or indirectly
                       misappropriating and/or using Kaplan Professional’s trade secrets;

               (b)     The issuance of an injunction compelling the Individual Defendants, and
                       every person and entity acting in concert with them, including, but not
                       limited to, Dalton, to return all documents and other materials containing or
                       constituting Kaplan Professional’s trade secrets;

               (c)     The award of compensatory damages in an amount to be determined at trial;

               (d)     Exemplary and other applicable damages;

               (e)     Reasonable attorneys’ fees; and

               (f)     Such other relief as the Court deems just and proper.

                                                  COUNT V
                                        BREACH OF CONTRACT
                                     (Against the Individual Defendants)

       159.    Kaplan Professional incorporates its allegations in Paragraph 1 through

Paragraph 158 as if fully set forth herein.

       160.    The Confidentiality and Restriction Agreements entered into by the Individual

Defendants are enforceable contracts.

       161.    The Individual Defendants breached the terms of their Confidentiality and

Restriction Agreements when they both, acting individually and in collaboration, disclosed and

used Kaplan Professional’s proprietary, confidential, and trade secret information.




                                                  25
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 26 of 32



        162.    Based on information and belief, the Individual Defendants breached the terms of

their Confidentiality and Restriction Agreements when they both solicited, encouraged, and

induced one another to terminate employment with Kaplan Professional and join Dalton.

        163.    The Individual Defendants breached the terms of their Confidentiality and

Restriction Agreements when they both solicited Kaplan Professional’s clients and engaged in

activities to interfere with, disrupt, or damage Kaplan Professional’s relationship with actual and

potential clients.

        164.    WHEREFORE, Kaplan Professional respectfully requests that the Court enter an

order granting judgment in favor of Kaplan Professional and against Defendants and ordering the

following relief:

                (a)    The issuance of preliminary and permanent injunctive relief enjoining the
                       Individual Defendants, and every person and entity acting in concert with
                       them, including, but not limited to, Dalton, from directly or indirectly
                       misappropriating and/or using Kaplan Professional’s trade secrets;

                (b)    The issuance of an injunction compelling the Individual Defendants, and
                       every person and entity acting in concert with them, including, but not
                       limited to, Dalton, to return all documents and other materials containing or
                       constituting Kaplan Professional’s trade secrets;

                (c)    The award of compensatory damages in an amount to be determined at trial;

                (d)    Exemplary and other applicable damages;

                (e)    Reasonable attorneys’ fees; and

                (f)    Such other relief as the Court deems just and proper.

                                        COUNT VI
               WISCONSIN COMPUTER CRIMES STATUTE, § 943.70, WIS. STATS.
                            (Against the Individual Defendants)

        165.    Kaplan Professional incorporates its allegations in Paragraph 1 through

Paragraph 164 as if fully set forth herein.




                                                26
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 27 of 32



       166.       The Individual Defendants willfully, knowingly, and without authorization took

possession of data, computer programs, or supporting documents in violation of Wis. Stat.

§ 943.70 when they copied Kaplan Professional’s proprietary, confidential, and trade secret

information by downloading such information and sending it to personal email addresses.

       167.       The Individual Defendants willfully, knowingly, and without authorization

accessed computer programs, took possession of Kaplan Professional’s data and supporting

documentations, and copied the data or supporting documents in violation of § 943.70(2)(a)(3)-

(6), Wis Stats.

       168.       WHEREFORE, Kaplan Professional respectfully requests that the Court enter an

order granting judgment in favor of Kaplan Professional and against Defendants and ordering the

following relief:

                  (a)    The issuance of preliminary and permanent injunctive relief enjoining the
                         Individual Defendants, and every person and entity acting in concert with
                         them, including, but not limited to, Dalton, from directly or indirectly
                         misappropriating and/or using Kaplan Professional’s trade secrets;

                  (b)    The issuance of an injunction compelling the Individual Defendants, and
                         every person and entity acting in concert with them, including, but not
                         limited to, Dalton, to return all documents and other materials containing or
                         constituting Kaplan Professional’s trade secrets;

                  (c)    The award of compensatory damages in an amount to be determined at trial;

                  (d)    Exemplary and other applicable damages;

                  (e)    Reasonable attorneys’ fees; and

                  (f)    Such other relief as the Court deems just and proper.

                                           COUNT VII
                                      CONVERSION/THEFT
                                      (Against All Defendants)

       169.       Kaplan Professional incorporates its allegations in Paragraph 1 through

Paragraph 168 as if fully set forth herein.


                                                  27
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 28 of 32



       170.    Defendants intentionally and without authorization took control of Kaplan

Professional’s confidential, proprietary, and trade secrets information when the Individual

Defendants downloaded and/or sent Kaplan Professional’s information to their personal devices

and/or email accounts for use at Dalton.

       171.    Kaplan Professional did not consent to Defendants’ taking or use of its confidential,

proprietary, and/or trade secrets information and took measures against such use by requiring its

employees to enter into agreements not to disclose this information.

       172.    WHEREFORE, Kaplan Professional respectfully requests that the Court enter an

order granting judgment in favor of Kaplan Professional and against Defendants and ordering the

following relief:

               (a)     The issuance of preliminary and permanent injunctive relief enjoining
                       Defendants, and every person and entity acting in concert with them,
                       including, but not limited to, Dalton, from directly or indirectly
                       misappropriating and/or using Kaplan Professional’s trade secrets;

               (b)     The issuance of an injunction compelling Defendants, and every person and
                       entity acting in concert with them, including, but not limited to, Dalton, to
                       return all documents and other materials containing or constituting Kaplan
                       Professional’s trade secrets;

               (c)     The award of compensatory damages in an amount to be determined at trial;

               (d)     Exemplary and other applicable damages;

               (e)     Reasonable attorneys’ fees; and

               (f)     Such other relief as the Court deems just and proper.

                          COUNT VIII
TORTIOUS INTERFERENCE WITH CONTRACT AND BUSINESS RELATIONSHIPS
                         (Against Dalton)

       173.    Kaplan Professional incorporates its allegations in Paragraphs 1 through

Paragraph 172 as if fully set forth herein.




                                                28
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 29 of 32



       174.    Dalton was aware that Kaplan Professional’s employees were subject to a

Confidentiality and Restriction Agreement when it hired the Individual Defendants.

       175.    Without justification or privilege, Dalton wrongfully interfered with Kaplan

Professional’s Confidentiality and Restriction Agreements by inducing the Individual Defendants

to leave Kaplan Professional and join Dalton.

       176.    Without justification or privilege, Dalton wrongfully interfered with Kaplan

Professional’s Confidentiality and Restriction Agreements by inducing the Individual Defendants

to solicit Kaplan Professional’s clients and inducing the Individual Defendants to take Kaplan

Professional’s trade secret information for use at Dalton.

       177.    Dalton’s interference is intentional as it knowingly and purposefully made contact

with Kaplan Professional’s employees in an effort to gain knowledge of Kaplan Professional’s

proprietary, confidential, and trade secret information, and to induce their breach of Kaplan

Professional’s Confidentiality and Restriction Agreement.

       178.    WHEREFORE, Kaplan Professional respectfully requests that the Court enter an

order granting judgment in favor of Kaplan Professional and against Defendants and ordering the

following relief:

               (a)     The issuance of preliminary and permanent injunctive relief enjoining the
                       Dalton, and every person and entity acting in concert with it, from directly
                       or indirectly misappropriating and/or using Kaplan Professional’s trade
                       secrets;

               (b)     The issuance of an injunction compelling Dalton, and every person and
                       entity acting in concert with it, to return all documents and other materials
                       containing or constituting Kaplan Professional’s trade secrets;

               (c)     The award of compensatory damages in an amount to be determined at trial;

               (d)     Exemplary and other applicable damages;

               (e)     Reasonable attorneys’ fees; and



                                                29
          Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 30 of 32



               (f)     Such other relief as the Court deems just and proper.

                           COUNT IX
TORTIOUS INTERFERENCE WITH CONTRACT AND BUSINESS RELATIONSHIPS
                        (Against Redfearn)

       179.    Kaplan Professional incorporates its allegations in Paragraphs 1 through

Paragraph 178 as if fully set forth herein.

       180.    Kaplan Professional has business and economic relationships with customers with

which Redfearn now intends to interfere in violation of her Confidentiality and Restriction

Agreement.

       181.    Redfearn intentionally interfered with Kaplan Professional’s relationships with

third parties without justification or privilege by using knowledge relating to such relationships

for her own personal gain and to the benefit of Dalton in violation of her Confidentiality and

Restriction Agreement.

       182.    WHEREFORE, Kaplan Professional respectfully requests that the Court enter an

order granting judgment in favor of Kaplan Professional and against Defendants and ordering the

following relief:

               (a)     The issuance of preliminary and permanent injunctive relief enjoining
                       Redfearn, and every person and entity acting in concert with her, including,
                       but not limited to, Dalton, from directly or indirectly misappropriating
                       and/or using Kaplan Professional’s trade secrets;

               (b)     The issuance of an injunction compelling Redfearn, and every person and
                       entity acting in concert with her, including, but not limited to, Dalton, to
                       return all documents and other materials containing or constituting Kaplan
                       Professional’s trade secrets;

               (c)     The award of compensatory damages in an amount to be determined at trial;

               (d)     Exemplary and other applicable damages;

               (e)     Reasonable attorneys’ fees; and

               (f)     Such other relief as the Court deems just and proper.


                                                30
         Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 31 of 32



                                                 Respectfully submitted,



Date: June 3, 2019                               s/Kendall W. Harrison
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                                       31
             Case: 3:19-cv-00452 Document #: 1 Filed: 06/03/19 Page 32 of 32



                                             Jury Demand

                 Plaintiff demands a jury trial on all claims so triable.



                                                s/Kendall W. Harrison
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                                                   32
